         Case: 23-5345   Document: 31    Filed: 06/30/2023   Page: 1




                              Nos. 23-5345


               UNITED STATES COURT OF APPEALS
                    FOR THE SIXTH CIRCUIT


             COMMONWEALTH OF KENTUCKY, et al.,
                    Plaintiffs-Appellants,

                                    v.

         ENVIRONMENTAL PROTECTION AGENCY, et al.,
                   Defendants-Appellees.


On Appeal from the U.S. District Court for the Eastern District of Kentucky
   No. 3:23-cv-7 (Hon. Gregory F. Van Tatenhove, U.S. District Judge)


DEFENDANTS-APPELLEES’ UNOPPOSED MOTION FOR ABEYANCE



                                   TODD KIM
                                   Assistant Attorney General
                                   BRIAN C. TOTH
                                   ARIELLE MOURRAIN JEFFRIES
                                   Attorneys
                                   Environment and Natural Resources
                                   Division
                                   U.S. Department of Justice
                                   Post Office Box 7415
                                   Washington, D.C. 20044
                                   (202) 532-3140
                                   arielle.jeffries@usdoj.gov
           Case: 23-5345    Document: 31    Filed: 06/30/2023   Page: 2




      Defendants-Appellees request that these related appeals be held in

abeyance until the Environmental Protection Agency and Army Corps of

Engineers (“Agencies”) issue a new final rule amending the regulations defining

“waters of the United States” under the Clean Water Act. Plaintiffs-Appellants

do not oppose the Agencies’ request at this time, provided that (1) the abeyance

does not affect the current injunction pending appeal (entered May 10, 2023);

(2) the Agencies agree that Appellants’ position does not prejudice their ability

to seek vacatur of the district court opinion under the Munsingwear doctrine if

and when appropriate; and (3) the Agencies be required to submit regular status

reports on the progress of the final rule. Defendants-Appellees do not object to

those proposed conditions of abeyance.

                               BACKGROUND

      On January 18, 2023, the Agencies published the Revised Definition of

“Waters of the United States,” 88 Fed. Reg. 3004 (“2023 Rule” or “Rule”). The

State of Kentucky and several trade associations (“Plaintiffs”), moved to

preliminarily enjoin the Rule. The district court denied Plaintiffs’ motions and

dismissed Plaintiffs’ claims for lack of standing and ripeness. Plaintiffs appealed

in both cases and moved for injunctions pending appeal. This Court granted

Plaintiffs’ motions and enjoined the Rule’s enforcement in the state of Kentucky,

and against all Plaintiffs and their members.



                                        1
           Case: 23-5345     Document: 31     Filed: 06/30/2023   Page: 3




      On May 25, 2023, the Supreme Court issued an opinion in Sackett v. EPA,

143 S. Ct. 1322, which addresses the standard for determining what constitutes

“waters of the United States.” On June 26, 2023, the Agencies announced that

they are developing a new rule to amend the 2023 Rule consistent with the

Supreme Court’s decision. U.S. EPA, Amendments to the 2023 Rule,

https://www.epa.gov/wotus/amendments-2023-rule. The Agencies intend to

issue a final rule by September 1, 2023. Id. Given the forthcoming rulemaking,

the Agencies seek to hold these appeals in abeyance pending publication of the

final rule in the Federal Register.

                                  ARGUMENT

      Courts have “broad discretion to stay proceedings.” Clinton v. Jones, 520

U.S. 681, 706 (1997). This authority is “incidental to the power inherent in every

court to control” its docket. Landis v. North American Co., 299 U.S. 248, 254

(1936). A Court may hold its own proceedings in abeyance when it would serve

“economy of time and effort for itself, for counsel, and for litigants.” Id.; see also

Pacheco v. Garland, No. 21-3104, 2021 U.S. App. LEXIS 18546, at *1 (6th Cir.

June 21, 2021) (stating that an abeyance can prevent the “unnecessary or

redundant use of judicial resources”).

      An abeyance here would conserve the Parties’ resources and would

promote judicial economy. The Agencies’ forthcoming final rule is likely to



                                          2
           Case: 23-5345    Document: 31    Filed: 06/30/2023   Page: 4




affect the ultimate resolution of this appeal in that it may narrow the issues that

the Court chooses to resolve. An abeyance would allow the Parties time to assess

the new rule and determine how to best proceed with the case. Allowing the

Parties time to react to the new rule would avoid unnecessary litigation in the

interim, conserving the resources of both the Parties and the Court.

      The requested abeyance would be appropriately limited in duration so that

it would not unduly delay any further proceedings in these appeals. Plaintiffs’

opening briefs are currently due on July 14, 2023. The Agencies intend to issue

a new final rule by September 1, 2023, only a month and a half later. No Party

would be prejudiced by the abeyance. When the new rule is issued, the Agencies

will promptly submit the rule for publication in the Federal Register. Once

published, the Parties would examine that official version of the new rule in

assessing whether and how this litigation should continue. In the meantime, the

2023 Rule has been stayed as to Plaintiffs and their members and within

Kentucky. The Agencies have also conferred with Plaintiffs, and Plaintiffs do

not oppose this motion on the conditions identified on page 1.

      The Agencies will promptly notify the Court and the Parties when the new

rule is published in the Federal Register, and they agree to provide status reports

during the duration of the abeyance as the Court deems appropriate. And any




                                        3
           Case: 23-5345   Document: 31     Filed: 06/30/2023   Page: 5




party can move this Court to lift or extend the abeyance before it expires if

circumstances should so warrant.

                                CONCLUSION

      For the foregoing reasons, the Court should grant this motion and hold

these appeals in abeyance pending publication of a new final rule regarding the

definition of “waters of the United States” in the Federal Register.

                                      Respectfully submitted,

                                      TODD KIM
                                      Assistant Attorney General

                                      s/ Brian C. Toth______________________
                                      BRIAN C. TOTH
                                      ARIELLE MOURRAIN JEFFRIES
                                      Attorneys
                                      Environment & Natural Resources Division
                                      U.S. Department of Justice
                                      Post Office Box 7415
                                      Washington, D.C. 20044
                                      (202) 532-3140
                                      arielle.jeffries@usdoj.gov

    June 30, 2023                     Counsel for Defendants/Appellees
    90-5-1-4-22350




                                        4
          Case: 23-5345   Document: 31   Filed: 06/30/2023   Page: 6




                    CERTIFICATE OF COMPLIANCE

     I hereby certify:

     1.    This document complies with the type-volume limitation of Federal

Rule of Appellate Procedure 27(d)(2)(A) because, excluding the parts of the

document exempted by Rule 32(f), this document contains 737 words.

     2.    This document complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type-style requirements of Rule

32(a)(6) because this document has been prepared in a proportionally spaced

typeface using Microsoft Word 2016 in 14-point Calisto MT font.


                                    s/ Brian C. Toth_____________________
                                    BRIAN C. TOTH
                                   Counsel for Defendants/Appellees
